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                                                            Exhibit E: All Claims Included in First Omnibus Objection
                                                                                                                                                           Omnibus Objection
                 Creditor               Schedule F Amount      Schedule F No.    C, U, D    POC#      POC Amount        Allowed Claim    Disputed Claims
                                                                                                                                                             Paragraphs
1st Black Hawk LLC
715 East Nields Street                         $196,191.95                 3.1                  76       $196,191.95       $196,191.95                           20-22
West Chester, PA 19380
AA Glass Industries LLC
                                                                                           Amended
2345 Route 9, Unit #3                           $46,431.26               3.600                            $54,131.31                       $54,131.31            23-27
                                                                                              9
Toms River, NJ 08755
Action Store Fronts, Inc.
Attn: Jeffrey M. Farinacci
                                                      N/A                 N/A                   58      Unliquidated                      Unliquidated           28-32
263 Union Blvd.
West Islip, NY 11795
Bristol Millwork Inc.
4560 Tacony Street                             $146,655.40               3.310      C           49       $146,655.40                       $146,655.40           23-27
Philadelphia, PA 19124
Bursese Electric Inc.
1275 Bloomfield Avenue, Building 1-
                                                $88,663.55               3.320                  69       $100,668.90                       $100,668.90           28-32
6AR
Fairfield, NJ 07004
Buttonwood Company, Inc.
P.O. Box 500                                    $78,410.00               3.340                  21        $86,420.00                       $86,420.00            28-32
Eagleville, PA 19408
Cippco Inc.
9323 Keystone Street                           $151,981.07               3.360   C, U, D        32       $174,420.29                       $174,420.29        23-27, 28-32
Philadelphia, PA 19114
Component Assembly Systems, Inc.
580 Virginia Drive, Suite 140                        $0.00               3.390   C, U, D                                         $0.00                           23-27
Fort Washington, PA 19034
Corporate Interiors Inc.
226 Lisa Drive                                  $15,252.32               3.410                  29        $16,007.55                       $16,007.55            28-32
New Castle, DE 19720

Cypress Door & Glass LLC
185 Lancaster Avenue                           $108,086.13               3.430                  75       $123,908.00                       $123,908.00           28-32
Malvern, PA 19355

DDM Steel
3659 North Delsea Drive                         $44,784.69               3.440      C           53        $64,857.00                       $64,857.00         23-27, 28-32
Vineland, NJ 08360
East Third Media, LLC
c/o Wright Partners
Attn: Carl Wright                                    $0.00               3.530   C, U, D        14       $416,830.05                       $416,830.05           28-32
20 South Olive Street, Suite 203
Media, PA 19063
EC Fence & Iron Works Inc.
                                                                                           Amended
2941 Felton Road                                $18,039.00               3.540                            $37,689.00                       $37,689.00            28-32
                                                                                             43
Norristown, PA 19401
Eckert Seamans Cherin & Mellott, LLC
2 Liberty Place
                                                      N/A                 N/A                   70        $16,225.00                       $16,225.00            23-27
50 S. 16th Street, 22nd Floor
Philadelphia, PA 19102
Edward B. O'Reilly & Associates, Inc.
30 West Highland Avenue                        $149,729.15               3.550                  5        $161,707.48                       $161,707.48           28-32
Philadelphia, PA 19118
Elite Painting Service
                                                                                           Amended
600 Deer Road, Suite 10                         $87,860.00               3.560                            $97,700.00                       $97,700.00            23-27
                                                                                             27
Cherry Hill, NJ 08034
Freedom Glass & Metal, Inc.
4 White Horse Pike                              $92,071.68               3.580      C           40        $92,071.68                       $92,071.68            23-27
Clementon, NJ 08021
Fromkin Brothers Inc.
4510 Adams Circle, Unit E                      $172,641.01               3.590                  73       $207,686.51                       $207,686.51           28-32
Bensalem, PA 19020
Genova, Burns, Giantomasi & Webster
                                                                                           Amended
2 Riverside Drive                                $2,722.50               3.620                             $8,175.75                        $8,175.75            28-32
                                                                                              4
Camden, NJ 08103
Hanover Insurance Company
Attn: Bari K. Shinbaum, Esquire
Hanover Insurance Co.
                                                      N/A                 N/A                   59      Unliquidated                      Unliquidated           28-32
Manson & McCarthy
17 State Street, 8th Floor
New York, NY 10004
Hasan Tahiraj
c/o Mullaney & Gjelaj, PLLC
                                                     $0.00               3.670   C, U, D                                         $0.00                           23-27
100-09 Metropolitan Avenue
Forest Hills, NY 11375
HK Panels Systems
1500 Industry Road, Suite G                     $21,999.50               3.710                  65        $30,550.40                       $30,550.40            28-32
Hatfield, PA 19440




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                                                                                                                                                         Omnibus Objection
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                                                                                                                                                           Paragraphs
James Floor Covering Inc.
2604 Durham Road                              $70,562.82               3.760   C, U, D                                         $0.00                           23-27
Bristol, PA 19007
Kevin J. Bailey & Son LLC
917 Northwood Avenue                          $33,668.11               3.820                  63        $62,264.30                       $62,264.30            28-32
Cherry Hill, NJ 08002
KLS Logistics, Inc.
c/o DHL Supply Chain (USA)
Attn: Legal Department                             $0.00               3.830   C, U, D                                         $0.00                           23-27
360 Westar Boulevard
Westerville, OH 43082
KPG-MCG Curtis Tenant LLC
Keystone Property Group
                                                   $0.00               3.840   C, U, D                                         $0.00                           23-27
125 E. Elm Street, Suite 400
Conshohocken, PA 19428
MAC Sprinkler Inc.                                                                        Second
3812 W. 9th Street                            $20,562.91               3.910             Amended        $20,562.92        $20,562.92                           28-32
Levittown, PA 19057                                                                         10
Massachusetts Bay Insurance Company
c/o Brian W. Bisignani, Esquire
Post & Schell PC                                    N/A                 N/A                   60      Unliquidated                      Unliquidated           28-32
1869 Charter Lane
Lancaster, PA 17601
Mayfield Site Contractors
596 Swedeland Road                           $149,200.00               3.940                  64       $192,140.27                       $192,140.27           28-32
King of Prussia, PA 19406
McCarthy Masonry and Concrete, Inc.
740 E. Cherry Road                           $114,620.63               3.950                  11       $127,808.12                       $127,808.12           28-32
Quakertown, PA 18951
Med-Tex Services Inc
P.O. Box 240                                     $680.00               3.960              3 & 24           $902.18                        $902.18              28-32
Penns Park, PA 18943
Morris Black & Sons, Inc.
984 Marcon Blvd.                               $9,979.34               3.990                  17        $12,350.01                       $12,350.01            28-32
Allentown, PA 18109
Nerd Street Gamers Localhost
Philadelphia, LLC
Attn: John Fazio, CEO                              $0.00               3.104   C, U, D        72       $746,102.00                       $746,102.00           28-32
908 North Third Street
Philadelphia, PA 19123
Network Flooring & Maintenance
101 W Abbey Drive                             $25,177.29               3.105                  13        $26,447.29                       $26,447.29            23-27
Townsend, DE 19734
Northeast Fire Proofing
608 Ryan Avenue                               $11,996.39               3.108                  45        $16,596.39                       $16,596.39            28-32
Westville, NJ 08093
Pennsylvania Flooring
66 Ford Road, Suite 141                      $117,611.40               3.114      C           47       $155,912.40                       $155,912.40        23-27, 28-32
Denville, NJ 07834
Philip Borst
641 Pugh Road                                $213,000.00               3.117                  57       $231,000.00                       $231,000.00           23-27
Wayne, PA 19087
Reilly Glazing Inc
200 E. Washington Street                     $176,233.00               3.125                  61       $192,124.50                       $192,124.50           28-32
Norristown, PA 19401
Revolution Recovery LLC
7333 Milnor Street                             $6,930.10               3.126                  37         $8,631.60                        $8,631.60            23-27
Philadelphia, PA 19036
RW Professional Cleaning LLC
112 Curnard Street                            $37,414.75               3.129      C           74        $58,754.75                       $58,754.75            28-32
Wilmington, DE 19804
Schaibles Mechanical LLC
                                                                                         Amended
241 Van Syckles Road                          $33,374.47               3.132                            $28,302.30        $28,302.30                           28-32
                                                                                           50
Hampton, NJ 08827
Schaibles Plumbing & Heating, Inc.
c/o DL Thompson Law, PC
                                                    N/A                 N/A                   51        $37,517.38                       $37,517.38            28-32
P.O. Box 679
Allenwood, NJ 08720
Scope FLP Pennington SM, LLC
Attn: Didier Choukroun, Manager
One Biscayne Tower
                                                   $0.00               3.134   C, U, D        56       $647,407.79                       $647,407.79           28-32
2 South Biscayne Boulevard, Suite
2000
Miami, FL 33131
Scungio & Company
117 Moore Drive                               $97,832.00               3.135                                              $97,832.00                           28-32
Media, PA 19063




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                                                                                                                                                             Paragraphs
Scungio Borst International
117 Moore Drive                                 $15,168.00               3.136                                              $15,168.00                           28-32
Media, PA 19068
Shopping Center Associates
c/o Simon Construction Group
Attn: Michael E. McCarty, President                  $0.00               3.139   C, U, D        48                                        $2,623,038.65          28-32
225 West Washington Street, 9th Floor
Indianapolis, IN 46204
Summit Architectural Metals & Glass
920 Eldridge Drive, Suite G                     $79,015.11               3.142                  66       $116,006.03                       $116,006.03           28-32
Hagerstown, MD 21740
Superior Scaffold Services Inc.
600 Center Avenue                               $15,552.57               3.143      C           18        $28,409.28                       $28,409.28         23-27, 28-32
Bensalem, PA 19020
TDR Systems Inc.
t/a CHUTES International
                                                 $9,458.46               3.145      C                                            $0.00                           33-35
33 Industrial Park Drive
Waldorf, MD 20602
Towne and Country Roofing & Siding
4775 Lerch Road                                 $34,355.44               3.148      C           6         $48,097.61                       $48,097.61         23-27, 28-32
Bensalem, PA 19020
Troost Fire Protection
58 Hyatt Road                                   $12,143.35               3.150                  35        $13,492.61                       $13,492.61            28-32
Branchville, NJ 07826
United Rentals
P.O. Box 100711                                 $35,453.02               3.151                  77        $49,491.20                                          20-22, 28-32
Atlanta, GA 30384-0711
William Walter Construction Group
LLC
Attn: Michael Barbella                         $215,738.83               3.157                  38       $230,466.36                       $230,466.36           28-32
1431 N. Tuckahoe Road
Williamstown, NJ 08094




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